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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

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       In re:                                                               Chapter 11
                                                                            CASE NO. 17-10659-jlg
SquareTwo Financial Services Corporation, et al
dba Fresh View Solutions
fka SquareTwo Commerical Funding Corporation
d/b/a CACSI
fka Collect America Commercial Services, Inc.
fka Guardian Financial Corporation,

                                      Debtor
-----------------------------------------------------------------------X


     ORDER GRANTING MOTION FOR RELIEF FROM THE AUTOMATIC STAY
            PURSUANT TO BANKRUPTCY RULE 11 U.S.C. § 362 (d)


         THIS MATTER came on before the court on August 27, 2019, pursuant to the Motion from
Relief from Automatic Stay filed by Provident Funding Associates, L.P. (“Movant”) [Docket No.:
864]. For the reasons stated orally in Court and on the Record, it is

         ORDERED AND ADJUDGED:


         1.       The Motion for Relief from Automatic Stay GRANTED.


         2.       Movant is granted relief from the automatic stay to enforce its rights as a secured creditor
                  under its loan documents and applicable state law with respect to that certain mortgage on
                  property legally described as:

                  SITUATED IN THE CITY OF AKRON FORMERLY TOWNSHIP OF
                  NORTHAMPTON, COUNTY OF SUMMIT AND STATE OF OHIO:

                  AND KNOWN AS BEING UNIT NUMBER 796 (BUILDING F) IN THE
                  HAMPTON WOODS CONDOMINIUM ACCORDING TO THE DECLARATION
                  OF   CONDOMINIUM       OWNERSHIP     FOR   HAMPTON       WOODS
                  CONDOMINIUM, RECORDED IN THE OFFICE OF SUMMIT COUNTY
                  RECORDS, OCTOBER 12, 1977, AS INSTRUMENT NUMBER 873065, AND ANY
                  AMENDMENTS THERETO TOGETHER WITH THE DRAWINGS FOR SAID
                  CONDOMINIUM RECORDED IN PLAT BOOK 110, PAGES 13 THRU 38,
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               INCLUSIVE OF SUMMIT COUNTY RECORDS, TOGETHER WITH THE
               UNDIVIDED PERCENTAGE INTEREST IN THE COMMON AREAS AND
               FACILITIES SET FORTH IN SAID DECLARATION TO BE APPURTENANT
               TO SUCH UNIT (WHICH PERCENTAGE MAY HEREAFTER BE AMENDED
               PURSUANT TO PARAGRAPH 19 AND 20 OF SAID DECLARATION.)

               AKA: 796 HAMPTON RIDGE DR., AKRON, OHIO 44313


       3.      The order is entered for the sole purpose of allowing Movant, its successors and/or
               assigns, to obtain an in rem relief against the property described above. Movant shall not
               seek an in personam judgment against the Debtor(s).

       4.      The Movants request to waive the 14 day period pursuant to Bankrutpcy Rule (a)(3) is
               granted.

       5.      This order shall be binding and effective despite any conversion of this bankruptcy case
               under any other chapter of Title 11 of the United States Code.

       6.      That in the event of the sale of the Real Estate, (i) the case trustee shall be added as a
               necessary party to receive notice of the report of sale and surplus money proceedings; and
               (ii) closure of the case shall not constitute an abandonment of the trustee’s interest, if any,
               in any surplus proceeds.




IT IS SO ORDERED.

Dated: October 2, 2019
      New York, New York

                                                                /s/James L. Garrity, Jr.
                                                                  Honorable James L. Garrity, Jr.
                                                                  United States Bankruptcy Judge
